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                                                                                        FILED
                                                                            United States Court of Appeals
                            UNITED STATES COURT OF APPEALS                          Tenth Circuit

                                   FOR THE TENTH CIRCUIT                             March 13, 2015
                               _________________________________
                                                                                   Elisabeth A. Shumaker
                                                                                       Clerk of Court
  STEVE N. BURTON,

         Plaintiff - Appellant,

  v.                                                               No. 13-1373
                                                      (D.C. No. 1:12-CV-02002-WJM-CBS)
  UNITED STATES OF AMERICA,                                         (D. Colo.)

         Defendant - Appellee.

  ----------------------------------------------

  CHARLES SCHOEPHOERSTER, P.A.;
  KEITH BAKER, M.D.; CALVIN
  POLLAND, D.O.,

          Defendants.
                               _________________________________

                                            ORDER
                               _________________________________

  Before BRISCOE, Chief Judge, MCKAY, KELLY, LUCERO, HARTZ,
  TYMKOVICH, GORSUCH, HOLMES, MATHESON, BACHARACH, PHILLIPS,
  MCHUGH, and MORITZ, Circuit Judges.
                      _________________________________

          The parties’ Motion to Dismiss is granted. The captioned appeal is dismissed

  pursuant to F.R.A.P. 42(b).

          A copy of this order shall stand as and for the mandate of this court.


                                                   Entered for the Court



                                                   ELISABETH A. SHUMAKER, Clerk
